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                                                                     FILED IN UNITED STATES DISTRICT
                                                                         COURT, DISTRICT OF UTAH
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                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

  UNITED STATES OF AMERICA,                    Case No. 2:20-cr-153-JNP

         Plaintiff,                            STATEMENT BY DEFENDANT IN
                                               ADVANCE OF PLEA OF GUILTY
         vs.                                   AND PLEA AGREEMENT

  MURAT SULJOVIC,                              Chief Magistrate Judge Dustin B. Pead

         Defendant.


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
explaining, and entering into this agreement:

        1.      As part of this agreement with the United States of America ("United
States"), I intend to plead guilty to Count 1 of the Felony Information. My attorney has
explained the nature of the charge against me, and I have had an opportunity to discuss
the nature of the charge with rny attorney. I understand the charge and what the United
States is required to prove in order to convict me. The elements of Count 1, attempting to
provide material support to a designated foreign terrorist organization are that the
Defendant:

               a.     knowingly attempting to provide material support or resources to a
                      designated foreign terrorist organization,

               b:     knowing that the organization is a designated terrorist organization
                      or that the organization has engaged in or does engage in terrorism;
                      and
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                c.     that a jurisdictional requirement has been satisfied-and for this case
                       this means the United States must prove that this conduct occurred in
                       whole or in part within the United States, or that I am a United States
                       national, or that the offense occurs in or affects interstate or foreign
                       commerce.

       2.      I know that the maximum possible penalty provided by law for Count 1 of
the Information, a violation of 18 U.S.C. § 2339B, is a term of imprisonment of20 years,
a fine of $250,000, lifetime supervised release, and any applicable forfeiture. I
understand that if I violate a term or condition of supervised release, I can be returned to
prison for the length of time provided in 18 U.S.C. § 3583(e)(3).

          a. Additionally, I know the Court is required to impose an assessment in the
amount of $100 for each offense of conviction, pursuant to 18 U.S.C. § 3013.
Furthermore, restitution to the victim of my offense shall be ordered pursuant to 18
U.S.C. § 3663A.

            b. I understand that, ifl am not a United States citizen, I may be removed
from the United States, denied citizenship, and denied admission to the United States in
the future.

        3.     I know that the sentencing procedures in this case and the ultimate sentence
will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
have discussed these procedures with my attorney. I also know that the final calculation
of my sentence by the Court may differ from any calculation the United States, my
attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.

       4.     I know that I can be represented by an attorney at every stage of the
proceeding, and I !mow that ifl cannot afford an attorney, one will be appointed to
represent me.

      5.     I !mow that I have a right to plead "Not Guilty" or maintain my earlier plea
of "Not Guilty" and can have a trial on the charges against me.

       6.       I know that I have a right to a trial by jury, and I know that if I stand trial
by a jury:

             a. I have a right to the assistance of counsel at every stage of the proceeding.

             b. I have a right to see and observe the witnesses who testify against me.

             c. My attorney can cross-examine all witnesses who testify against me.



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           d. I can call witnesses to testify at trial, and I can obtain subpoenas to require
the attendance and testimony of those witnesses. Ifl cannot afford to pay for the
appearance of a witness and mileage fees, the United States will pay them.

              e. I cannot be forced to incriminate myself, and I do not have to testify at any
trial.

         f. If I do not want to testify, the jury will be told that no inference adverse to
me may be drawn from my election not to testify.

          g. The United States must prove each and every element of the offense
charged against me beyond a reasonable doubt.

              h. It requires a unanimous verdict of a jury to convict me.

          i. Ifl were to be convicted, I could appeal, and ifl could not afford to appeal,
the United States would pay the costs of the appeal, including the services of appointed
counsel.

         7.      If! plead guilty, I will not have a trial of any kind.

        8.     I know that 18 U.S.C. § 3742(a) sets forth the circumstances under which I
may appeal my sentence. However, fully understanding my right to appeal my sentence,
and in consideration of the concessions and/or commitments made by the United States in
this plea agreement, I knowingly, voluntarily and expressly waive my right to appeal as
set forth in paragraph 12 below.

      9.      I know that 18 U.S.C. § 3742(b) sets forth the circumstances under which
the United States may appeal my sentence.

       10.    I know that under a plea of guilty the judge may ask me questions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, ifl give false answers, I can be prosecuted for
perjury.

      11.   I stipulate and agree that the following facts accurately describe my
conduct. These facts provide a basis for the Court to aecept my guilty plea:

                On or about January 8, 2019, while residing in Utah, and while knowing
                that the Islamic State of Iraq and al Sham ("ISIS") is an organization that
                has engaged in and does engage in terrorism, I corresponded with [Person-
                A]. I believed [Person-A] to be a follower ofISIS who was interested in
                performing an attack for ISIS, and I also believed [Person A] was assisting
                another follower ofISIS, [Person BJ, who was also interested in performing
                an attack for ISIS. In this correspondence with [Person A], I was

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             pretending to be an ISIS leader through an online persona, and I believed
             Person-A and Person-B believed that I was such a leader ofISIS. I
             provided advice about potential targets for a terrorist attack and advice
             about how to plan an attack. During this correspondence, I provided a
             video bomb making tutorial to Person-A to share with Person-B for
             purposes of training and assisting Person B in carrying out an attack.

             By providing the bomb-making tutorial video to [Person A], I knowingly
             attempted to provide material support to ISIS, knowing that ISIS has
             engaged and does engage in terrorism. I agree that my conduct violated 18
             U.S.C. § 2339B.

      12.   The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

   a. Guilty Plea. I will plead guilty to Count I of the Information, charging me with
      attempting to provide material support to a designated foreign terrorist
      organization in violation of 18 U.S.C. § 2339B.

   b. Relevant Conduct. I understand and agree that the Presentence Report may
      include descriptions of conduct I engaged in which either was not charged against
      me, will not be pleaded to by me, or both. I understand and agree that the Court
      may take these facts into consideration in sentencing.

  c. Acceptance of Responsibility. I understand that the United States agrees to
     recommend that my offense level under the U.S. Sentencing Guidelines be
     decreased by two levels for my acceptance of responsibility pursuant to
     Sentencing Guideline § 3El.1 (a) if, in the opinion of the United States, I clearly
     demonstrate acceptance of responsibility for my offense, up to and including at the
     time of sentencing, as set forth in§ 3El.l of the Sentencing Guidelines. In
     addition, the United States agrees to move for an additional one-level reduction in
     the offense level, in accordance with Sentencing Guideline § 3E l. l(b ), ifl qualify
     for a two-level reduction under§ 3El.l(a) and the offense level is 16 or greater
     prior to receiving the two-level reduction.

  d. Discovery. I acknowledge thatihaveaccepted this agreement and decided to plead
     guilty because I am in fact guilty. By entering this plea of guilty, I waive any and
     all right to withdraw my plea or to attack my conviction, either on direct appeal or
     collaterally, on the ground that the Government has failed to produce any
     discovery material, Jencks Act material, exculpatory material (other than
     information establishing my factual innocence) pursuant to Brady v. Maryland,
     373 U.S. 83 (1963), or impeachment material pursuant to Giglio v. United States,
     405 U.S. 150 (1972) that has not already been produced as of the date of the
     signing of this Agreement.

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    e. Sentencing Recommendation and Cooperation. I agree to fully cooperate with
       the government, its agencies, and other law enforcement agencies and provide
       truthful and complete information and/or testimony before any federal grand jury,
       the United States District Court, or in any other proceeding, concerning my
       participation in the offense of conviction and my knowledge of any and all
       criminal activities of any nature whatsoever. In light of this cooperation
       agreement as more fully set forth in an agreement to be disclosed to the Court in
       camera, the United States agrees to file a motion under Section SKI.I of the
       United States Sentencing Guidelines (the "SK Motion") for a sentence reduction in
       substantially the form which I have already reviewed. I understand that the
       sentencing reduction reflected in the terms of the cooperation agreement disclosed
       to the Court in camera and recommended in the United States' SK Motion, reflects
       the complete consideration that the United States will provide for my cooperation
       and I have no expectation of any further sentencing concessions or benefits from
       the United States in connection with this Plea Agreement or the SK Motion. The
       United States' agreement is based on the facts and circumstances currently known
       to the United States. If additional facts regarding my history and characteristics or
       the nature and circumstances of my conduct are discovered prior to sentencing, the
       United States reserves the right to reconsider this recommendation. I understand
       that the Court is not bound by the United States' recommendation.

   f. Appeal Waiver.

                (1)    Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments made by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, and the manner
in which the sentence is determined, on any of the grounds set forth in 18 U.S.C. § 3742
or on any ground whatever, except I do not waive my right to appeal (1) a sentence above
the maximum penalty provided in the statute of conviction as set forth in paragraph 2
above; and (2) a sentence above the high-end of the guideline range as determined by the
district court at sentencing, or, in the event that no such determination is made by the
district court, a sentence above the high-end of the guideline range as set forth in the final
presentence report.

               (2)   I also knowingly, voluntarily, and expressly waive my right to
challenge my sentence, and the manner in which the sentence is determined, in any
collateral review motion, writ or other procedure, including but not limited to a motion
brought under 28 U.S.C. § 2255, except on the issue of ineffective assistance of counsel.

              (3)   I understand that this waiver of my appeal and collateral review
rights concerning my sentence shall not affect the United States' right to appeal my



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 sentence pursuant to18 U.S.C. § 3742(b). However, I understand that the United States
 agrees that ifit appeals my sentence, I am released from my waiver.

               (4)    I further understand and agree that the word "sentence" appearing
 throughout this waiver provision is being used broadly and applies to all aspects of the
 Court's sentencing authority, including, but not limited to: (1) sentencing
 determinations; (2) the imposition of imprisonment, fines, supervised release, probation,
 and any specific terms and conditions thereof; and (3) any orders of restitution.

    g. Rule 410 Waiver. If the Court finds that I failed to fulfill my obligations under
       this plea agreement, or ifI withdraw my plea of guilty, I agree that this agreement,
       my statements pursuant to this agreement, or any leads derived therefrom, shall be
       admissible at any trial, hearing, or other proceeding.

    h. Presentence Report and Financial Information. I agree to provide truthful and
       complete information, including financial information, as requested by the
       probation office for the preparation of my presentence report and for
       determination of the conditions ofmy supervised release. I also consent to
       allowing the United States Attorney's Office to run a credit check on me. I
       consent to being placed on the Treasury Offset Program and State Finder.

    1.   Forfeiture.

               ( 1)   I agree to forfeit all property acquired from or traceable to my
offense[s] and all property that was used to facilitate my offense[s], including, but not
limited to, the following specific property:

   • Samsung Galaxy Note 9; S/N: 358620092029; IMEI:358620092029084
   • XFINITY Modem/Router; Cisco Model dpc3941-tmcv214-k9; SIN: 282014950
   • AT&T SIM Card
   • Asus Chromebox, SIN: FBMSCX001200
   • Flash Memory SanDisk, Model SDSA6mm-016g-1002; SIN: 142168402411
   • Acer Laptop, Model v5-122p-0408; SN: NXM8WAA0073230D6346600
   • Toshiba Hard Disk Drive; Model KH50004011323042436600; SIN:
     43d3s I w8sxk4hdkcb06e0a0 Is
   • Dell Inspiron 15, 7000 series 7548; S/N: 58HWJ42
   • Western Digital Hard Disk Drive; Model WDI0SPCX-75KHST0; SIN:
     WX71AC484PPH
   • Samsung Galaxy S7 Edge Phone; FCC: a3Ismg935US; !MEI: 35844071569938
   • Twitter account: @wikidawlah, ID# 1079038088440012800

               (2)    I acknowledge that all property covered by this agreement is subject
to forfeiture as property involved in illegal conduct giving rise to forfeiture.

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               (3)    I agree that al I such property may be forfeited in either an
administrative, civil and/or criminal judicial proceeding. I agree that I will not make a
claim to the property or otherwise oppose forfeiture in any such proceedings, and I will
not help anyone else do so. If! have already made such a claim, I hereby withdraw it. I
further agree that I will sign any necessary documents to ensure that clear title to the
forfeited assets passes to the United States, and that I will testify truthfully in any judicial
forfeiture proceeding. In addition, I agree that I will not make any claim to property
forfeited by any other defendant in this case.

              (4)    I hereby waive any claims I may have against the United States
regarding the seizure and forfeiture of the property covered by this agreement.

               (5)     I hereby waive the requirements regarding notice of the forfeiture in
the charging instrument, announcement of the forfeiture at sentencing, and incorporation
of the forfeiture in the judgment.

              (6)    I hereby waive any constitutional or statutory challenges to the
forfeiture covered by this agreement, including that the forfeiture is an excessive fine or
punishment.

        13.     I understand and agree that this plea agreement is solely between me and
the United States Attorney for the District of Utah and does not bind any other federal,
state, or local prosecuting, administrative, or regulatory authorities.

      14.   I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

                                  *      *      *      *


        I make the following representations to the Court:

        I.    I am   ll years of age. My education consists of j         (qtlt?   7
 I    (,o,Q          [can/cannot] read and understand English.

       2.     This Statement in Advance contains all terms of the agreements between
 me and the United States; if there are exceptions, the Couti will be specifically advised,
 on the record, at the time of my guilty plea of the additional terms. I understand the
 United States and I cannot have terms of this plea agreement that are not disclosed to
 the Court.

      3.     No one has made threats, promises, or representations to me that have
 caused me to plead guilty, other than the provisions set forth in this agreement.



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        4.    Neither my attorney nor the United States has promised me that I would
  receive probation or any other form of leniency because ofmy plea.

        5.    I have discussed this case and this plea with my lawyer as much as I wish,
  and I have no additional questions.

       6.      I am satisfied with my lawyer.

       7.     My decision to enter this plea was made after full and careful thought; with
 the advice of counsel; and with a full understanding of my rights, the facts and
 circumstances of the case and the consequences of the plea. I was not under the
 influence of any drugs, medication, or intoxicants when I made the decision to enter the
 plea, and I am not now under the influence of any drugs, medication, or intoxicants.

       8.     I have no mental reservations concerning the plea.

       9.     I understand and agree to all of the above. I know that I am free to change
 or delete anything contained in this statement. I do not wish to make changes to this
 agreement because I agree with the terms and all of the statements are correct.

       DATED this     I c)   day of   Na1Jfi>{Ylt)(~{
                                         •
                                                         ,2tJZ.o



                                                  ~~
                                                  MURAT SULJOVIC
                                                  Defendant

        I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his [her] rights to him [her], and that I have assisted him [her] in
completing this written agreement. I believe that he [she] is knowingly and voluntarily
entering the plea with full knowledge of his [her] legal rights and that there is a factual
basis for the plea.

      DATED this    ~/_0_    day of   Nt ~               ,   __
                                                              -'cP.vV
                                                                 .




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       I represent that all terms of the plea agreement between the defendant and the
United States have been, or will be at the plea hearing, disclosed to the Court, and there
are no undisclosed agreements between the defendant and the United States.
                          0
       DATED this //; \day of          \/,~v't vv1h+
                                                  JOHN W. HUBER
                                                  United States Attorney




                                                  CARL D. LfSUEUR
                                                  Assistant United States Attorney




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